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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ALEXSIA BRADLEY, individually and on               )
behalf of all others similarly situated,           )
                                                   )
               Plaintiff,                          )
                                                   )      Case No. 20-cv-2700
        v.                                         )
                                                   )      Hon. Sara L. Ellis
GERRESHEIMER GLASS, INC.,                          )
                                                   )
               Defendant.                          )

                       STIPULATED DISMISSAL WITH PREJUDICE

        Plaintiff Alexsia Bradley and Defendant Gerresheimer Glass, Inc. (“Gerresheimer”) hereby

stipulate and agree, through their respective counsel indicated below, that pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff hereby dismisses all claims

against Gerresheimer in Plaintiff’s Complaint, with prejudice, with each party to bear its own costs

and attorneys’ fees.

        STIPULATED TO, DATED, AND RESPECTFULLY SUBMITTED this 29th day of July,

2020.

Respectfully submitted:

  /s/Mara Baltabos                                 /s/Erin Bolan Hines

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  Fax: 630.778.0400                                Defendant’s Counsel

 Plaintiff’s Counsel
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                                 CERTIFICATE OF SERVICE

       I certify that, on July 29, 2020, the foregoing was filed with the Court using the Court’s

electronic case filing system, which will send notification to all registered users.



                                                      /s/ Erin Bolan Hines
                                                      Counsel for Defendant
